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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

     * * * * * * * * * * * * * * * * * * * *

United States of America,

                   Plaintiff,

      vs.                                  REPORT AND RECOMMENDATION

Gerriod Tyrone Simpson,
a/k/a “Gerried Tyrone Simpson,”
and Jessica Lavender Gross,

                   Defendants.               Crim. 06-409(01-02)(DWF/RLE)

     * * * * * * * * * * * * * * * * * * * *

                                  I. Introduction

      This matter came before the undersigned United States Magistrate Judge

pursuant to a general assignment, made in accordance with the provisions of Title 28

U.S.C. §636(b)(1)(B), upon the Motions of the Defendants Gerriod Tyrone Simpson

(“Simpson”) and Jessica Lavender Gross (“Gross”), to Suppress Evidence Obtained

by Search and Seizure.1 A Hearing on the Defendants’ Motions was conducted on

      1
        Each of the Defendants also filed a Motion to Suppress Statements. See,
Docket Nos. 21and 26. At the Hearing, the Government represented that it would not
offer, at Trial, any statements that were made by Simpson to law enforcement, and
Simpson withdrew his Motion to Suppress at that time. Evidence was adduced, at the
Hearing, that pertained to Gross’ Motion to Suppress and, after the Hearing the
                                                                     (continued...)
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January 8, 2007, at which time, Simpson appeared personally, and by Blair W.

Nelson, Esq.; Gross appeared personally, and by Paul A. Kief, Esq.; and the

Government appeared by John R. Marti, Assistant United States Attorney.

      For reasons which follow, we recommend that the Defendants’ Motions to

Suppress Evidence Obtained by Search and Seizure be denied.

                               II. Factual Background

      The Defendants have each been charged with one (1) Count of conspiring to

distribute, one (1) Count of possessing with intent to distribute, and one (1) Count of

distributing, crack cocaine, in violation of Title 21 U.S.C. §§841(a)(1), (b)(1)(A),

(b)(1)(B), and 846. Additionally, Simpson has been charged with four (4) Counts of

distributing crack cocaine, in violation of Title 21 U.S.C. §§841(a)(1), and (b)(1)(C);


      1
       (...continued)
Defendants requested, and the Court granted, until January 17, 2007, for the
submission of any further briefing, and the Government was allowed to file any
response by January 22, 2007. See, Docket No. 28. On January 10, 2007, we granted
the Government’s Motion to extend the time for a response to January 29, 2007. See,
Docket No. 30. Thereafter, by letter dated January 17, 2007, counsel for Gross
advised that her Motion to Suppress was also being withdrawn. See, Docket No. 33.
Therefore, we find that the Defendants’ Motions to Suppress Statements should be
denied, as moot. Given the post-Hearing briefing schedule, we took the Motions
under advisement on January 29, 2007. See, Title 18 U.S.C. §3161(h)(1)(F) and (J);
Henderson v. United States, 476 U.S. 321, 330-32 (1986); United States v.
Blankenship, 67 F.3d 673, 676-77 (8th Cir. 1995), cert. denied, 525 U.S. 1090 (1999).

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and one (1) Count of being a felon in possession of a firearm, in violation of Title 18

U.S.C. §§922(g)(1), and 924(a)(2). The events which gave rise to the conspiracy

charge are alleged to have taken place from July 11, 2006, to October 12, 2006, while

the events which gave rise to the charges, against both Defendants, of possessing with

intent to distribute, and distributing crack cocaine, are alleged to have occurred on or

about August 17, 2006, and October 12, 2006, respectively. The events which gave

rise to the charges of distributing crack cocaine, and being a felon in possession, as

alleged against Simpson, are said to have taken place from about July 11, 2006, until

September 26, 2006. All of the events are alleged to have occurred in this State and

District.

       Through their respective Motions, the Defendants have asked us to review the

Search Warrant, “on its four (4) corners,” in order to determine whether it was

supported by probable cause, or subject to any other fatal defects. No testimony was

adduced at the Hearing, and therefore, consistent with the parties’ request, we limit

our consideration to the “four corners” of the Search Warrant, and its supporting

papers.




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                                    III. Discussion

             The Defendants’ Motion to Suppress Evidence of Search.

                    A.     Standard of Review. In the issuance of a Search Warrant,

the Fourth Amendment dictates that an impartial, neutral, and detached Judicial

Officer, will assess the underlying factual circumstances so as to ascertain whether

probable cause exists to conduct a search, or to seize incriminating evidence, the

instrumentalities or fruits of a crime, or contraband. See, Warden v. Hayden, 387 U.S.

294 (1967); United States v. Gettel, --- F.3d ---, 2007 WL 162729 at *3 (8th Cir.,

January 24, 2007)(“A search warrant may only be issued upon a showing of probable

cause that evidence or instrumentalities of a crime or contraband will be found in the

place to be searched.”), citing Walden v. Carmack, 156 F.3d 861, 870 (8th Cir.1998);

United States v. Johnson, 64 F.3d 1120, 1126 (8th Cir. 1995), cert. denied, 516 U.S.

1139 (1996). In order to find probable cause, it must be demonstrated that, in light of

all the circumstances set forth in the supporting Affidavit, there is a fair probability

that contraband, or evidence of a crime, will be found in a particular, designated place.

See, Illinois v. Gates, 462 U.S. 213, 238 (1983); United States v. Davis, 471 F.3d 938,

945 (8th Cir. 2006); United States v. Gladney, 48 F.3d 309, 313 (8th Cir. 1995); United

States v. Tagbering, 985 F.2d 946, 949 (8th Cir. 1993). For these purposes, probable

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cause is “a fluid concept, turning on the assessment of probabilities in particular

factual contexts, not readily, or even usefully, reduced to a neat set of legal rules.”

Illinois v. Gates, supra at 232; see also, Ornelas v. United States, 517 U.S. 690, 695

(1996).

      “Search warrant ‘[a]pplications and affidavits should be read with common

sense and not in a grudging hyper technical fashion.’” United States v. Ryan, 293

F.3d 1059, 1061 (8th Cir. 2002), quoting United States v. Goodson, 165 F.3d 610, 613

(8th Cir. 1999), cert. denied, 527 U.S. 1030 (1999).          In conducting such an

examination, the Court should review the Affidavits as a whole, and not on a

paragraph-by-paragraph basis. See, Technical Ordnance, Inc. v. United States, 244

F.3d 641, 649 (8th Cir. 2001), cert. denied, 534 U.S. 1084 (2002); United States v.

Anderson, 933 F.2d 612, 614 (8th Cir. 1991). Moreover, the reviewing Court must

not engage in a de novo review but, rather, should accord great deference to the

decision of the Judicial Officer who issued the Warrant. See, United States v.

Durham, 470 F.3d 727, 733 (8th Cir. 2006); United States v. Maxim, 55 F.3d 394, 397

(8th Cir. 1995), cert. denied, 516 U.S. 903 (1995); United States v. Curry, 911 F.2d 72,

75 (8th Cir. 1990), cert. denied, 498 U.S. 1094 (1991). This mandated deference to the

determination of the issuing Judicial Officer is consistent with the Fourth

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Amendment’s sound preference for searches that are conducted pursuant to Warrants.

See, Illinois v. Gates, supra at 236.

      Moreover, “[i]t is axiomatic that probable cause must exist at the time of the

search and not merely at sometime earlier.” United States v. Gettel, supra at *3;

United States v. Kennedy, 427 F.3d 1136, 1141 (8th Cir. 2005); see, United States v.

Ozar, 50 F.3d 1440, 1446 (8th Cir. 1995). Therefore, a lapse of time, between the

observations of a witness and the issuance of a Search Warrant, like a delay in

executing a Search Warrant, “may make probable cause fatally stale.” United States

v. Maxim, supra at 397 [quotations omitted]. “There is no bright-line test for

determining when information is stale,” and the passage of time, alone, is “not always

the controlling factor,” as other factors, such as “the nature of the criminal activity

involved and the kind of property subject to the search,” are also relevant to the

inquiry. Id., quoting United States v. Koelling, 992 F.2d 817, 822 (8th Cir. 1993); see,

United States v. Chrobak, 289 F.3d 1043, 1046 (8th Cir. 2002); United States v. Rugh,

968 F.2d 750, 754 (8th Cir. 1992); United States v. Kennedy, supra at 1141. As but

one example, when the Affidavit alleges an “ongoing continuous criminal enterprise,

the passage of time between the receipt of information and the search becomes less

critical in assessing probable cause.” United States v. Rugh, supra at 754.

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      Therefore, in our analysis, we must not “simply count[] the number of days

between the occurrence of the facts supplied and the issuance of the affidavit,” but

must consider any passage of time “in the context of a specific case and the nature of

the crime under investigation.” United States v. Maxim, supra at 397, quoting United

States v. Koelling, supra at 822.       Furthermore, “‘where recent information

corroborates otherwise stale information, probable cause may be found.’” United

States v. Ozar, supra at 1446, quoting United States v. Macklin, 902 F.2d 1320, 1326

(8th Cir. 1990), cert. denied, 498 U.S. 1031 (1991).

                   B.     Legal Analysis. On October 12, 2006, a Search Warrant was

executed at the Defendants’ residence, which is located in Bemidji, Minnesota. See,

Government Exhibit 1. The Warrant authorized a search for controlled substances,

including, but not limited to cocaine; primary containers used to store, preserve, or

conceal controlled substances; dispensing equipment and drug paraphernalia; books

and records which pertain to narcotics transactions; items which show occupancy of

the searched residence and constructive possession of any contraband; firearms and

ammunition; computers, computer accessories, and computer storage systems; United

States currency, and other items which might constitute proceeds from the sale of

controlled substances; and items which depicted drug related activities. The Warrant

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also authorized the answering of the telephone while the officers were present at the

residence, as well as engaging in conversations with individuals calling. The officers

were further authorized to photograph any items that might be uncovered during the

search, and to search any vehicle located at the residence, as well as the persons of

Simpson and Gross.

      In support of the Search Warrant Application, Robert M. Carlson (“Carlson”),

who is a Special Agent with the Beltrami County Sheriff’s Department, and a member

of the Paul Bunyan Gang and Drug Task Force (“Task Force”), submitted an Affidavit

that set forth the reasons which caused him to suspect that evidence of criminal

activity would be found at the Defendants’ residence. Carlson averred that, within

seventy-two (72) hours of the date of his Affidavit, a confidential reliable informant

(“CI -1”) had reported observing a quantity of cocaine, in plain view, at the residence

of “Ty” and “Jess Gross” in Bemidji, Minnesota. According to Carlson, CI-1 was

familiar with cocaine through prior personal experience.

      CI-1 also informed Carlson that “Ty” sold crack cocaine, and occasionally

marijuana, from his residence, and was privy to conversations regarding the sale of

crack cocaine. CI-1 added that “Ty” and “Jess Gross” cohabitated at the residence as

boyfriend and girlfriend, and described “Ty” as a short Black male, and “Jess Gross”

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as a White female with short brown hair. As related by CI-1, “Ty” was known to have

a handgun, although it had not been personally viewed by CI-1. CI-1 described three

(3) small surveillance cameras, which were located on the outside of the East, West,

and North sides of the residence, as well as corresponding viewing monitors inside the

residence, that had been installed for the purpose of identifying law enforcement

officers, and thwarting any attempts at apprehension.          Carlson showed CI-1

unlabelled, Minnesota Department of Motor Vehicle (“DMV”) photographs of

Simpson and Gross, and CI-1 positively identified the Defendants as the individuals

known as “Ty” and “Jess Gross.”

      According to Carlson, CI-1 has been known to law enforcement for several

years, and has been responsible for seizures of cocaine, marijuana, and morphine,

which have led to the arrest and prosecution of several individuals trafficking in

narcotics. Although the identity of CI-1 has been fully disclosed to Carlson, his or her

name was not included in the Affidavit, since CI-1 feared violent repercussions for the

assistance he has provided to law enforcement in the investigation.

      Within ninety (90) days prior to his Affidavit, Carlson received information,

from another confidential reliable informant (“CI-2”), who stated that “Ty” and

“Jessica Gross” had been known, by CI-2, for an extended period of time, that those

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individuals distributed narcotics from their residence, and maintained a video

surveillance system at their residence, for the same reasons as previously related by

CI-1. CI-2 had also observed “Ty” and “Jessica Gross” in possession of narcotics and

distribution equipment, in plain view, inside their residence on a number of occasions.

Carlson showed CI-2 an unlabelled, Minnesota DMV photograph of Simpson, and CI-

2 identified him as the short, Black male known as “Ty.” Also within ninety (90) days

prior to Carlson’s Affidavit, CI-2 stated that “Ty” was observed in possession of a

handgun, and that, within the past 120 days, “Ty” had been observed in possession of

an assault-style rifle.

       As recounted by Carlson, CI-2 knows what cocaine, marijuana, and the

described firearms, are through prior experience. CI-2 provided the same description

of the physical appearance of “Ty,” and “Jessica Gross,” as CI-1 previously had.

Carlson averred that CI-1 and CI-2 are unaware of each other, and have acted

independently of one another. CI-2 had been known to Carlson for approximately

four (4) months, was responsible for multiple seizures of cocaine, and had aided law

enforcement in the identification of two (2) other cocaine distributors who are

unrelated to the Defendants. The identity of CI-2 was fully disclosed to Carlson, but

was not disclosed in Carlson’s Affidavit, as CI-2 feared violent repercussions from the

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Defendants, and any unknown co-conspirators, for assisting law enforcement in the

present investigation.

      Carlson attested that he learned, through conversations with the Hennepin

County Attorney’s office, that Simpson had been convicted of 2nd Degree Assault with

a dangerous weapon, in 1996, for inflicting serious bodily harm to a minor child in a

domestic assault. Carlson stated that he was told by the CIs that Gross has a young

daughter, who is approximately five (5) to eight (8) years old.

      Carlson also attested that he had access to law enforcement databases, which

confirmed that Simpson and Gross reside at the house in Bemidji, Minnesota, that had

been identified by the CIs. Carlson, and other Agents of the Task Force, physically

surveilled that residence and confirmed that it matched the description provided by the

CIs. Carlson observed high volumes of short-term traffic to the residence, by motor

vehicles, bicycles, and pedestrians, which, he attested, was indicative of trafficking

in narcotics. Active surveillance of the residence also revealed windows facing the

driveway, as well as motion lights on a detached garage on the property, and Carlson

averred as to his knowledge that windows and motion lights were often employed by

individuals in detecting the movement of persons who were approaching the

entryways to residences, including approaches by law enforcement.

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      On October 12, 2006, a Search Warrant was issued by the District Court of

Beltrami County, Minnesota, and the Warrant was executed on the same day, at

approximately 10:00 o’clock p.m. The Receipt associated with the Search Warrant,

records that a number of materials were seized from the Defendants’ residence. The

objects primarily consisted of substances suspected to be crack cocaine, a glass pipe,

United States currency, several cell phones and digital scales, miscellaneous

documents and receipts, surveillance cameras, and a loaded handgun, with

ammunition. See, Receipt, Government Exh. 1.

      On this showing, we find that there was adequate probable cause to support the

issuance of the Search Warrant for the Defendants’ residence. We recognize that

much of the information, which is contained in the Affidavit, was supplied by the CIs

and, when probable cause for a Search Warrant is based on information provided by

an informant, the core question “‘is whether the information is reliable.’” United

States v. Warford, 439 F.3d 836, 841 (8th Cir. 2006), quoting United States v.

Williams, 10 F.3d 590, 593 (8th Cir. 1993); United States v. Koons, 300 F.3d 985, 993

(8th Cir. 2002); see also, United States v. Reivich, 793 F.2d 957, 959 (8th Cir.

1986)(“[T]he informant’s reliability, veracity, and basis of knowledge are relevant




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considerations -- but not independent, essential elements -- in finding probable

cause.”). As our Court of Appeals has stated:

            In [Illinois v.] Gates, the Supreme Court explained that an
            informant’s reliability and basis of knowledge “are better
            understood as relevant considerations in the totality-of-the-
            circumstances analysis that traditionally has guided
            probable-cause determinations: a deficiency in one may be
            compensated for, in determining the overall reliability of a
            tip, by a strong showing as to the other, or by some other
            indicia of reliability.” * * * 462 U.S. at 233, 103 S.Ct. at
            2329.
United States v. Olson, 21 F.3d 847, 850 (8th Cir. 1995).

As a result, “‘an informant’s basis of knowledge [is] an important consideration, but

not a rigid requirement, in the probable cause determination.’” Id., citing United

States v. Anderson, supra at 615.

      Consequently, the “core question” is whether the information, which was

provided by the informant, was reliable. See, United States v. Williams, 10 F.3d 590,

593 (8th Cir. 1993)(“The core question in assessing probable cause based upon

information supplied by an informant is whether the information is reliable.”). In this

respect, “[t]he statements of a reliable confidential informant are themselves sufficient

to support probable cause.” United States v. Wright, 145 F.3d 972, 975 (8th Cir.

1998), cert. denied, 525 U.S. 919 (1998). In turn, an informant is deemed reliable



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when his statements are corroborated by independent evidence. See, United States v.

Carpenter, 341 F.3d 666, 669 (8th Cir. 2003)(“[C]orroboration of minor, innocent

details may support finding of probable cause.”), citing United States v. Tyler, 238

F.3d 1036, 1039 (8th Cir. 2001); see also, United States v. Koons, supra at 993

(“‘Information may be sufficiently reliable to support a probable cause finding if the

person providing the information has a track record of supplying reliable information,

or if it is corroborated by independent evidence.’”), quoting United States v. Fulgham,

supra at 401; United States v. Formaro, 152 F.3d 768, 770 (8th Cir.

1998)(“[C]orroboration of the confidential informant’s information by independent

investigation is an important factor in the calculus of probable cause.”).

      Here, the CIs were known to law enforcement, see, United States v. Solomon,

432 F.3d 824, 827 (8th Cir. 2005), quoting Florida v. J.L., 529 U.S. 266, 270

(2000)(“[A] known informant * * * can be held responsible if her allegations turn out

to be fabricated.”), and the information that the CIs had provided to the officers, in

the past, had resulted in the seizure of controlled substances, including cocaine and

marijuana, and had led to the identification of other cocaine distributors unrelated to

the Defendants. See, United States v. Leppert, 408 F.3d 1039, 1041 (8th Cir.

2005)(reliability of informant’s tip was established where informant had provided

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reliable information in the past, and at least some of the tip was corroborated by an

independent investigation). Moreover, the information provided by the CIs was

confirmed by independent observations of the Defendants’ residence, by Carlson and

other officers, and the execution of the Warrant resulted in the confiscation of

controlled substances. See, United States v. Rivera, 410 F.3d 998, 1002 (8th Cir.

2005)(informant’s credibility was established where his representations were

corroborated by officer surveillance and the recovery of narcotics from the informant

following a controlled drug transaction).       Accordingly, we find that Carlson

reasonably relied upon the information that was provided by CI-1 and CI-2.

      We further find that the information contained in the Search Warrant,

concerning the events of the preceding months which culminated in the Defendants’

arrest, had not become impermissibly stale by the time the Search Warrant was issued

and executed. Not only did the information provided by CI-2 relate to an ongoing

narcotics investigation, but it had been “freshened” with more current information by

CI-1, that was provided to Carlson within seventy-two (72) hours of issuance of the

Warrant. See, United States v. Ozar, supra at 1446 (“‘[W]here recent information

corroborates otherwise stale information, probable cause may be found.’”), quoting

United States v. Macklin, supra at 1326; see also, United States v. Morrow, 90 Fed.

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Appx. 183, 184 (8th Cir. 2004)(“The seven-day delay did not render stale the

information on which the Warrant was based.”), citing United States v. Gibson, 123

F.3d 1121, 1124-25 (8th Cir. 1997)(four-day delay did not render the Warrant stale

where drug activity was ongoing).2 Nor can it be responsibly argued that a sufficient

nexus, between illicit drugs, and the Defendants’ residence, had not been shown,

given the eyewitness accounts of the CIs, and Carlson’s own observations during the

surveillance of that residence.

      In sum, the Defendants allege no other fatal defects in the Warrant and

supporting papers, our independent review has failed to disclose any, and accordingly,

we find no basis to sustain a substantive challenge to the Warrant at issue. Therefore,

we recommend that the Defendants’ Motions to Suppress Evidence from Search and

Seizure be denied.

      NOW, THEREFORE, It is –


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        Even if the information in the Search Warrant was impermissibly stale, we
would be compelled, by the law of this Circuit, to find that the agents’ reliance upon
the Search Warrant was reasonable, because it “was not so facially lacking in probable
cause as to preclude the executing officers’ good faith reliance thereon.” United
States v. McNeil, 184 F.3d 770, 775 (8th Cir. 1999)(applying Leon good faith
exception to arguably stale Search Warrant), citing United States v. Leon, 468 U.S.
897, 922-23 (1984); see also, United States v. Gettel, --- F.3d ---, 2007 WL 162729
at *4 (8th Cir., January 24, 2007).

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      RECOMMENDED:

      1.    That the Motion of the Defendant Jessica Lavender Gross for

Suppression of Evidence Obtained from Search and Seizure [Docket No. 21] be

denied.

      2.    That the Motion of the Defendant Jessica Lavender Gross for

Suppression of Statements [Docket No. 21] be denied, as moot.

      3.    That the Motion of the Defendant Gerriod Tyrone Simpson for

Suppression of Evidence Obtained from Search and Seizure [Docket No. 25] be

denied.

      4.    That the Motion of the Defendant Gerriod Tyrone Simpson for

Suppression of Statements [Docket No. 26] be denied, as moot.



Dated: January 29, 2007              s/Raymond L. Erickson
                                              Raymond L. Erickson
                                              CHIEF U.S. MAGISTRATE JUDGE


                                   NOTICE

      Pursuant to Rule 45(a), Federal Rules of Criminal Procedure, D. Minn.

LR1.1(f), and D. Minn. LR72.1(c)(2), any party may object to this Report and


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Recommendation by filing with the Clerk of Court, and by serving upon all parties by

no later than February 15, 2007, a writing which specifically identifies those

portions of the Report to which objections are made and the bases of those objections.

Failure to comply with this procedure shall operate as a forfeiture of the objecting

party's right to seek review in the Court of Appeals.

      If the consideration of the objections requires a review of a transcript of a

Hearing, then the party making the objections shall timely order and file a complete

transcript of that Hearing by no later than February 15, 2007, unless all interested

parties stipulate that the District Court is not required by Title 28 U.S.C. §636 to

review the transcript in order to resolve all of the objections made.




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